       Case 2:23-cv-01717-PA-DFM Document 34 Filed 10/17/23 Page 1 of 3 Page ID #:191




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

HUNTER KERHART, an individual                                 CASE NUMBER:


                                                                               2:23-cv-01717-PA-DFM

                          v.                   Plaintiff(s)
PENSKE MEDIA CORPORATION, a
Delaware Corporation; et al.                                                   NOTICE OF
                                                                           MEDIATION DATE
                                                                           AMENDED MEDIATION DATE
                                            Defendant(s).

INSTRUCTIONS: This form should be filed only in cases in which the Court has issued an order of referral to
ADR Procedure No. 2, directing the parties to appear before a neutral selected from the Court's Mediation
Panel. The assigned Panel Mediator must file this Notice electronically using the following event: "Civil
Events => Other Filings => ADR/Mediation Documents => Notice of Mediation Date (ADR-13)."
                 YOU ARE HEREBY NOTIFIED THAT THE PANEL MEDIATOR HAS
                                SCHEDULED     RESCHEDULED
                       A MEDIATION IN THE ABOVE-CAPTIONED CASE
for October 24, 2023                         at 9:30              ✔   a.m. /    p.m.

LOCATION: Zoom

 The mediation session must be completed and an ADR-03 Mediation Report must be filed on or
 before the Court-ordered completion date.


Continuances are not favored and may only be granted by the Panel Mediator up to the Court-ordered
completion date. Absent extraordinary circumstances, parties may not request a continuance within three
business days of a scheduled mediation. Be advised that the Panel Mediator is required to report to the
Court after the mediation session as to whether the parties appeared at the mediation as required by Local
Rule 16-15.5(b). General Order No. 11-10, § 8.9.

Dated: October 16, 2023                          Panel Mediator: Dorothy Wolpert
                                                 Address:        Bird, Marella
                                                                        1875 Century Park East, 23rd Floor
                                                                        Los Angeles, California 90067
                                                 Phone:                 (310) 201-2100
                                                 Email:                 dwolpert@birdmarella.com




ADR–13 (01/23)                              NOTICE OF MEDIATION DATE                                     Page 1 of 1
Case 2:23-cv-01717-PA-DFM Document 34 Filed 10/17/23 Page 2 of 3 Page ID #:192




   1                                     PROOF OF SERVICE
   2                      Hunter Kerhart v. Penske Media Corporation, et al.
                                 Case No. 2:23-cv-01717-PA-DFM
   3
       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   4
           At the time of service, I was over 18 years of age and not a party to this action. I
   5 am employed in the County of Los Angeles, State of California. My business address is
     1875 Century Park East, 23rd Floor, Los Angeles, CA 90067-2561.
   6
           On October 16, 2023, I served the following document(s) described as NOTICE
   7 OF MEDIATION DATE on the interested parties in this action as follows:
   8                              SEE ATTACHED SERVICE LIST
   9        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
     document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the
  10 case who are registered CM/ECF users will be served by the CM/ECF system.
     Participants in the case who are not registered CM/ECF users will be served by mail or by
  11 other means permitted by the court rules.
  12          I declare under penalty of perjury under the laws of the State of California that the
       foregoing is true and correct.
  13
              Executed on October 16, 2023, at Los Angeles, California.
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                                                      Joannie U. Han-Dressor
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Case 2:23-cv-01717-PA-DFM Document 34 Filed 10/17/23 Page 3 of 3 Page ID #:193




   1                                  SERVICE LIST
                      Hunter Kerhart v. Penske Media Corporation, et al.
   2                         Case No. 2:23-cv-01717-PA-DFM
   3 Stephen M. Doniger                        Lincoln D. Bandlow
     Benjamin Firestone Tookey                 Rom Bar-Nissim
   4 Doniger Burroughs APC                     Law Offices of Lincoln Bandlow PC
     603 Rose Avenue                           1801 Century Park East, Suite 2400
   5 Venice, California 90291                  Los Angeles, California 90067
     Telephone: (310) 590-1820                 Telephone: (310) 556-9680
   6 Email: stephen@donigerlawfirm.com         Email: lincoln@bandlowlaw.com
     Email: btookey@donigerlawfirm.com         Email: rom@bandlowlaw.com
   7 Counsel for Plaintiff Hunter Kerhart      Counsel for Defendants Penske Media
                                               Corporation, Dirt.com, LLC and The
   8                                           Hollywood Reporter, LLC
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